

ON REMAND FROM THE FLORIDA SUPREME COURT

PER CURIAM.
The Florida Supreme Court reinstated this appeal for reconsideration in light of *1220Kelso v. State, 961 So.2d 277 (Fla.2007). Ají opinion of this court was previously issued on June 30, 2006, A.M.W. v. State, 934 So.2d 564 (Fla. 5th DCA 2006). The majority of the opinion is unaffected by Kelso; however, based upon that decision this court’s earlier disposition of A.M.W.’s double jeopardy claim as it related to convictions for both theft of a firearm and grand theft for other items is withdrawn, and we substitute the following language in its stead.
A.M.W. argues that he may not be convicted of both grand theft of a firearm and third-degree grand theft of other items when both charges arise from the same burglary. This issue was resolved by the supreme court adverse to A.M.W.’s position in Kelso, 961 So.2d 277.
AM.W.’s adjudication for grand theft of a firearm is AFFIRMED. The remaining counts are unaffected by this decision and remain as set forth in this court’s earlier opinion.
GRIFFIN, MONACO and COHEN, JJ., concur.
